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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:23-cv-22322-KMW

  BETTY’S BEST, INC.,

          Plaintiffs,
  vs.

  THE INDIVIDUALS, PARTNERSHIPS,
  AND UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

        Defendants.
  _________________________________________/

  DEFENDANT GOTIWELL’S AMENDED CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

          Defendant gotiwell as identified in Schedule “A” to the Amended Complaint [DE 84]
  pursuant to Federal Rule of Civil Procedure 7.1, hereby states the following and amends its prior
  corporate disclosure at DE 277:
                                        Certificate of Interested Parties
          The following are the names of any and all persons, associated persons, firms,
  partnerships, or corporations that have a financial interest in the outcome of this case, including
  all subsidiaries, conglomerates, affiliates, parent corporations, and other identifiable legal entities
  related to a party:
          1. Betty’s Best, Inc. – Plaintiff
          2. SRIP Law – Plaintiff’s counsel
          3. Gotiwell - Defendant
          4. Nico Cheng, Gotiwell’s owner.
          5. Shukun Lv, potential witness on behalf of Gotiwell.
          6. Haipeng Xiao – Defendant gotiwell’s counsel
          7. ISReal IP Legal Inc. Limited – Defendant gotiwell’s counsel
          8. Giuliano Law Group, P.A. – Defendant gotiwell’s counsel
          9. Nicole W. Giuliano – Defendant Gotiwell’s local counsel
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                                      Corporate Disclosure Statement
         Defendant gotiwell does not have publicly traded shares or debt that would be potentially
  affected by the outcome of this action, nor does it have a parent corporation.
                                       Respectfully submitted,
 By: /s/ Haipeng Xiao                             /s/ Nicole W. Giuliano
 ISREAL IP LEGAL INC. LIMITED                     Nicole W. Giuliano, Esq.
 New York Bar No. 5659487                         Florida Bar No. 71067
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 Pro Hac Vice                                     Nicole@glgpa.com
                                                  service@glgpa.com



                                   Attorneys for Defendant Gotiwell




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served this 1st
  day of February 2024, by email to all parties or counsel of record in this matter.

                                                               /s/ Nicole W. Giuliano
                                                               Nicole W. Giuliano
